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 7

 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                     Case No. 2:15 CR-00234 JAM
12            Plaintiff,
13                                                STIPULATION & ORDER TO
14         vs.                                    VACATE AND CONTINUE JUDGMENT
                                                  AND SENTENCING
15
     STEVEN MARCUS,
16

17         Defendant.

18

19

20
           Plaintiff, United States of America, by and through its counsel, Assistant United
21
     States Attorney Todd Pickles, Esq., and defendant Steven Marcus, by and through his
22
     attorney of record, Donald H. Heller, Esq, agree and stipulate to vacate the existing date
23

24   for Judgment and Sentencing of October 3, 2017, and to continue Judgment and

25   Sentencing to November 28, 2017 at 9:15 a.m. The reason for the continuance is to

26   permit the parties can present additional information to the Court for sentencing
27   purposes.
28
                                                 1
                                                              Case No. 2:15 CR-00234 JAM.
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 1          The parties to this stipulation request this Court to accept and adopt this
 2   stipulation.
 3
     Dated: September 7, 2017                  /s/ Donald H. Heller
 4
                                               DONALD H. HELLER
 5                                             Attorney for Defendant
 6                                             Steven Marcus

 7
                                               /s/ Todd Pickles by Donald Heller with
 8                                             authorization
 9                                             TODD PICKLES
10                                             Assistant U.S. Attorney
                                               Attorney for the Government
11

12
                                               ORDER
13

14
            Based on the representations and stipulation of Counsel, IT IS HEARBY
15
     ORDERED that:
16
            1.      The Judgment and Sentencing Hearing for defendant Steven Marcus on
17

18   October 3, 2017, is VACATED; and,

19          2.      Judgment and Sentencing for Steven Marcus is reset for November 28,

20   2017, at 9:15 a.m.
21          IT IS SO ORDERED.
22
     Dated: 9/8/17
23

24
                                                      /s/ John A. Mendez____________
25                                                    JOHN A. MENDEZ
26                                                    United State District Court Judge

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